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 1   MINTZ AND GILLER
     A Law Corporation
 2   By: James Giller, Esq. (SBN: 028084)
     405 - 14th Street, Suite 1008
 3   Oakland, California 94612
     Telephone: (510) 451-6686
 4   Facsimile: (510) 451-4820

 5   Attorney for Defendant,
     Charles Moore
 6
                                 UNITED STATES DISTRICT COURT
 7
                               NORTHERN DISTRICT OF CALIFORNIA
 8
                                        SAN FRANCISCO DIVISION
 9
     THE UNITED STATES OF AMERICA,                      CASE NO. CR 05-00491-VRW
10
                           Plaintiff,
11                                                      STIPULATION TO EXCUSE THE
                                                        DEFENDANT FROM APPEARING IN
12                                                      COURT AND ORDER
         -vs-
13
     Charles Moore
14
                       Defendants
15   ______________________________/

16          IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Laurel
17
     Beeler, for The United States of America and James Giller Attorney for Defendant, that
18
     Defendant, Charles Moore, need not appear in court because defendant lives in Las Vegas,
19
     Nevada. The defendant is a low income individual and it’s a financial hardship for him to come
20

21   to California on May 16, 2006 for a status conference appearance. Therefore, the defendant

22   requests the court to excuse defendant for the appearance on May 16, 2006, at 10:30AM before

23   the Honorable Vaughn R. Walker.
24

25                                                                             S/
     DATED: May 10, 2006                                        _____________________________
26                                                              Laurel Beeler
                                                                Assistant United States Attorney
27
                                                    1
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 2
                                                                      S/
 3   DATED: May 10, 2006                                       _____________________________
                                                               James Giller,
 4                                                             Attorney for Defendant,
                                                               Charles Moore
 5
                                                 ORDER
 6
            IT IS SO ORDERED that the defendant is excused from appearing in court on May 16,
 7
     2006, at 10:30 a.m., in the above matter.                             ISTRIC
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     DATED: ____________                                         IT IS S
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                                                                                                    R NIA
                                                               Vaughn R. Walker,
12                                                             United States District Court Judge
                                                                                      Walker
                                                          NO
                                                                           aughn R
                                                                    Judge V




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 1                                    DECLARATION OF SERVICE

 2          I, the undersigned, declare:

 3          That I am employed in the County of Alameda where this mailing/faxing occurs; I am

 4   over the age of 18 years and not a party to this action. My business address is 405 - 14th Street,

 5   Suite 1008, Oakland, California, 94612.

 6          On May 12, 2006, I served the following documents:

 7          STIPULATION TO EXCUSE THE DEFENDANT FROM APPEARING IN
            COURT AND ORDER
 8
     in said action by   X FAXING            MAILING a true copy thereof, as follows:
 9
     The Honorable Vaughn R. Walker                                (415)
10   United States District Judge
11

12   Laurel Beeler                                                 (415) 436-7234
     Assistant U.S. Attorney
13   450 Golden Gate Avenue
     San Francisco, CA 94102
14
            I declare under penalty of perjury under the laws of the State of California that the
15
     foregoing is true and correct.
16
             Executed at Oakland, California on May 12, 2006.
17
                                                                           S/
18
                                                                   _________________________
19                                                                 Sharaz T. Dean

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